                  Case 3:21-cv-05502-LK-TLF Document 24 Filed 04/21/22 Page 1 of 7




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 6
                                                      THE HONORABLE THERESA L. FRICKE
 7                                                         THE HONORABLE LAUREN KING

 8
                               UNITED STATES DISTRICT COURT
 9                       FOR THE WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
10     SABRINA MARIE KENDALL,
                                                          NO. 3:21-cv-05502-LK-TLF
11
                                 Plaintiff,
12     vs.                                                YAKIMA COUNTY
                                                          DEFENDANTS’ ANSWER
13     WASHINGTON DEPARTMENT OF
       CORRECTIONS, et al.,
14
                                 Defendants.
15

16           TO:     Plaintiff, Sabrina Marie Kendall, pro se

17           Defendants Yakima County Department of Corrections, Ed Campbell and Christina
18   Freeburg (Yakima County Defendants) answer plaintiff’s complaint as follows:
19
             1.      This paragraph makes allegations against other defendants and requires no
20
     response from the Yakima County Defendants.
21
             2.      Yakima County Defendants are without knowledge or information sufficient to
22
     form a belief as to the truth of the allegations in this paragraph and therefore deny the same.
23

24           3.      This paragraph makes no factual allegations against the Yakima County

25   Defendants and thus requires no response.

26

       YAKIMA COUNTY DEFENDANTS’ ANSWER – 1                               LAW, LYMAN, DANIEL,
       Cause No.: 3:21-cv-05502-LK-TLF                                KAMERRER & BOGDANOVICH, P.S.
                                                                                      ATTORNEYS AT LAW
                                                                        2674 R.W. JOHNSON RD. TUMWATER, WA 98512
                                                                      P.O. BOX 11880 OLYMPIA, WASHINGTON 98508-1880
                                                                              (360) 754-3480 FAX: (360) 357-3511
                  Case 3:21-cv-05502-LK-TLF Document 24 Filed 04/21/22 Page 2 of 7




 1          4.       This paragraph makes no factual allegations against the Yakima County
 2   Defendants and thus requires no response.
 3
            5.       Yakima County Defendants are without knowledge or information sufficient to
 4
     form a belief as to the truth of the allegations in this paragraph and therefore deny the same.
 5
            6.       This paragraph makes allegations against other defendants and requires no
 6
     response from the Yakima County Defendants.
 7

 8          7.       Yakima County Defendants admit Defendant Yakima County Department of

 9   Corrections is an agency of Yakima County and operates the Yakima County Jail. The remainder

10   of this paragraph is denied.
11          8.       This paragraph makes allegations against other defendants and requires no
12
     response from the Yakima County Defendants.
13
            9.       Yakima County Defendants are without knowledge or information sufficient to
14
     form a belief as to the truth of the allegations in this paragraph and therefore deny the same.
15

16          10.      This paragraph makes allegations against other defendants and requires no

17   response from the Yakima County Defendants.

18          11.      Yakima County Defendants are without knowledge or information sufficient to
19   form a belief as to the truth of the allegations in this paragraph and therefore deny the same.
20
            12.      This paragraph makes allegations against other defendants and requires no
21
     response from the Yakima County Defendants.
22
            13.      This paragraph makes allegations against other defendants and requires no
23
     response from the Yakima County Defendants.
24

25          14.      Yakima County Defendants are without knowledge or information sufficient to

26   form a belief as to the truth of the allegations in this paragraph and therefore deny the same.

       YAKIMA COUNTY DEFENDANTS’ ANSWER – 2                               LAW, LYMAN, DANIEL,
       Cause No.: 3:21-cv-05502-LK-TLF                                KAMERRER & BOGDANOVICH, P.S.
                                                                                      ATTORNEYS AT LAW
                                                                        2674 R.W. JOHNSON RD. TUMWATER, WA 98512
                                                                      P.O. BOX 11880 OLYMPIA, WASHINGTON 98508-1880
                                                                              (360) 754-3480 FAX: (360) 357-3511
                  Case 3:21-cv-05502-LK-TLF Document 24 Filed 04/21/22 Page 3 of 7




 1          15.      Yakima County Defendants are without knowledge or information sufficient to
 2   form a belief as to the truth of the allegations in this paragraph and therefore deny the same.
 3
            16.      Yakima County Defendants are without knowledge or information sufficient to
 4
     form a belief as to the truth of the allegations in this paragraph and therefore deny the same.
 5
            17.      Yakima County Defendants admit plaintiff was temporarily transferred to the
 6
     Yakima County Jail but are without knowledge or information sufficient to form a belief as to
 7

 8   the truth of the remaining allegations in this paragraph and therefore deny the same.

 9          18.      Yakima County Defendants are without knowledge or information sufficient to

10   form a belief as to the truth of the allegations in this paragraph and therefore deny the same.
11          19.      Yakima County Defendants are without knowledge or information sufficient to
12
     form a belief as to the truth of the allegations in this paragraph and therefore deny the same.
13
            20.      Yakima County Defendants are without knowledge or information sufficient to
14
     form a belief as to the truth of the allegations in this paragraph and therefore deny the same.
15

16          21.      Yakima County Defendants are without knowledge or information sufficient to

17   form a belief as to the truth of the allegations in this paragraph and therefore deny the same.

18          22.      Yakima County Defendants are without knowledge or information sufficient to
19   form a belief as to the truth of the allegations in this paragraph and therefore deny the same.
20
            23.      Yakima County Defendants are without knowledge or information sufficient to
21
     form a belief as to the truth of the allegations in this paragraph and therefore deny the same.
22
            24.      Yakima County Defendants are without knowledge or information sufficient to
23
     form a belief as to the truth of the allegations in this paragraph and therefore deny the same.
24

25          25.      Yakima County Defendants are without knowledge or information sufficient to

26   form a belief as to the truth of the allegations in this paragraph and therefore deny the same.

       YAKIMA COUNTY DEFENDANTS’ ANSWER – 3                               LAW, LYMAN, DANIEL,
       Cause No.: 3:21-cv-05502-LK-TLF                                KAMERRER & BOGDANOVICH, P.S.
                                                                                      ATTORNEYS AT LAW
                                                                        2674 R.W. JOHNSON RD. TUMWATER, WA 98512
                                                                      P.O. BOX 11880 OLYMPIA, WASHINGTON 98508-1880
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                  Case 3:21-cv-05502-LK-TLF Document 24 Filed 04/21/22 Page 4 of 7




 1          26.      Yakima County Defendants are without knowledge or information sufficient to
 2   form a belief as to the truth of the allegations in this paragraph and therefore deny the same.
 3
            27.      Yakima County Defendants are without knowledge or information sufficient to
 4
     form a belief as to the truth of the allegations in this paragraph and therefore deny the same.
 5
            28.      Yakima County Defendants incorporate their responses to paragraphs 1-27 above.
 6
            29.      Yakima County Defendants deny the same.
 7

 8          30.      Yakima County Defendants incorporate their responses to paragraphs 1-29 above.

 9          31.      This paragraph makes allegations against other defendants and requires no

10   response from the Yakima County Defendants. To the extent it makes allegations against the
11   Yakima County Defendants, it is denied.
12
            32.      Yakima County Defendants deny the same.
13
            33.      Yakima County Defendants incorporate their responses to paragraphs 1-32 above.
14
            34.      Yakima County Defendants deny the same.
15

16          35.      Yakima County Defendants deny the same.

17          36.      Yakima County Defendants incorporate their responses to paragraphs 1-35 above.

18          37.      This paragraph makes allegations against other defendants and requires no
19   response from the Yakima County Defendants. To the extent it makes allegations against the
20
     Yakima County Defendants, it is denied.
21
            38.      This paragraph makes allegations against other defendants and requires no
22
     response from the Yakima County Defendants. To the extent it makes allegations against the
23
     Yakima County Defendants, it is denied.
24

25          Yakima County Defendants further deny plaintiff is entitled to the relief she seeks in her

26   Relief Demanded, items 1-3.

       YAKIMA COUNTY DEFENDANTS’ ANSWER – 4                               LAW, LYMAN, DANIEL,
       Cause No.: 3:21-cv-05502-LK-TLF                                KAMERRER & BOGDANOVICH, P.S.
                                                                                      ATTORNEYS AT LAW
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                  Case 3:21-cv-05502-LK-TLF Document 24 Filed 04/21/22 Page 5 of 7




 1          By way of FURTHER ANSWER and AFFIRMATIVE DEFENSES, Yakima County
 2   Defendants allege:
 3
            1.       That the plaintiff has failed to state a claim for which relief can be granted against
 4
     these defendants.
 5
            2.       That qualified immunity precludes plaintiff’s claims.
 6
            3.       That the public duty doctrine and qualified and/or good faith immunity preclude
 7

 8   plaintiff’s state law claims.

 9          4.       That the plaintiff’s comparative fault proximately caused her damages, if any.

10          5.       That the plaintiff failed to mitigate her damages, if any.
11          6.       That the plaintiff failed to exhaust applicable administrative remedies prior to
12
     filing suit as required by the Prison Litigation Reform Act.
13
            7.       That the plaintiff’s damages, if any, were caused by fault of parties not in the
14
     control of the Yakima County Defendants.
15

16          8.       That sovereign immunity precludes plaintiff’s claims.

17          9.       That the plaintiff’s claims are barred by the applicable statute of limitations.

18          10.      That the plaintiff failed to submit a Notice of Claim as required by state law.
19          Yakima County Defendants expressly reserve the right to amend this Answer, including
20
     the addition of affirmative defenses warranted by investigation and discovery, and to make such
21
     amendments either before or during trial, including asserting other defense theories or
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     conforming the pleadings to the proof offered at the time of trial.
23
            WHEREFORE, Yakima County Defendants pray as follows:
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25

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       YAKIMA COUNTY DEFENDANTS’ ANSWER – 5                                  LAW, LYMAN, DANIEL,
       Cause No.: 3:21-cv-05502-LK-TLF                                   KAMERRER & BOGDANOVICH, P.S.
                                                                                         ATTORNEYS AT LAW
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                Case 3:21-cv-05502-LK-TLF Document 24 Filed 04/21/22 Page 6 of 7




 1         1.      That plaintiff’s Complaint be dismissed with prejudice and that plaintiff take
 2   nothing by her Complaint and that Yakima County Defendants be allowed their costs and
 3
     reasonable attorneys' fees herein.
 4
           Dated this 21st day of April, 2022.
 5
                                                   LAW, LYMAN, DANIEL, KAMERRER
 6                                                 & BOGDANOVICH, P.S.

 7                                                 /s/ John E. Justice

 8                                                 John E. Justice, WSBA No. 23042
                                                   Attorney for Defendants Yakima County
 9                                                 Department of Corrections, Ed Campbell and
                                                   Christina Freeburg
10                                                 P.O. Box 11880, Olympia, WA 98508
                                                   Phone: (360) 754-3480 Fax: 360-754-3480
11                                                 Email: jjustice@lldkb.com

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       YAKIMA COUNTY DEFENDANTS’ ANSWER – 6                           LAW, LYMAN, DANIEL,
       Cause No.: 3:21-cv-05502-LK-TLF                            KAMERRER & BOGDANOVICH, P.S.
                                                                                   ATTORNEYS AT LAW
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                                                                   P.O. BOX 11880 OLYMPIA, WASHINGTON 98508-1880
                                                                           (360) 754-3480 FAX: (360) 357-3511
                 Case 3:21-cv-05502-LK-TLF Document 24 Filed 04/21/22 Page 7 of 7




 1                             CERTIFICATE OF FILING AND SERVICE
 2            I hereby certify under penalty of perjury under the laws of the State of Washington that
 3
     on this date, I caused to be electronically filed the foregoing document with the Clerk of the
 4
     Court using the CM/ECF system, who will send notification of such filing to the following
 5
     party:
 6
     Plaintiff Pro Se:
 7
     Sabrina Kendall, DOC No. 729655
 8   Washington Corrections Center for Women
     9601 Bujacich Road NW
 9   Gig Harbor, WA 98332-8300
     DOCWCCWInmateFederal@DOC1.WA.GOV
10
     Counsel for Defendant Washington
11
     Department of Corrections,
12   Steven Sinclair, Lisa Anderson-Longano,
     Paul Clark and Jo Wofford:
13   Mark J. Rachel
     Attorney General’s Office (Tacoma)
14   1250 Pacific Ave Ste 105
     P.O. Box 2317
15
     Tacoma, WA 98401-2317
16   mark.rachel@atg.wa.gov

17            DATED this 21st day of April, 2022 at Tumwater, WA.

18                                                     /s/ Tam Truong
                                                       ____________________________
19                                                     Tam Truong, Legal Assistant
20

21

22

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24

25

26

       YAKIMA COUNTY DEFENDANTS’ ANSWER – 7                                LAW, LYMAN, DANIEL,
       Cause No.: 3:21-cv-05502-LK-TLF                                 KAMERRER & BOGDANOVICH, P.S.
                                                                                       ATTORNEYS AT LAW
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                                                                       P.O. BOX 11880 OLYMPIA, WASHINGTON 98508-1880
                                                                               (360) 754-3480 FAX: (360) 357-3511
